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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

LINDA S. DOWNS .
Plaintiff *
Vv * Civil Action No. MJG-16-407
GLASSER AND GLASSER, P.L.C. >
Defendant *Cr
ORDER

On June 3, 2016, plaintiff, by her counsel, filed a Notice of Settlement which this Court
has approved. ECF 6. Accordingly, it is this gre day of June, 2016, by the United States
District Court for the District of Maryland, hereby ORDERED that:

1. The case IS DISMISSED;

2B The Clerk SHALL CLOSE this case; and

3; The Clerk IS DIRECTED to MAIL a copy of this Order to counsel.

/s/

 

Marvin G. Garbis
United States District Judge
